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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §        CASE NO. 1:13-CR-55(4)
                                                  §
 ROBERTO SANCHEZ GONZALEZ                         §



           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On May 22, 2014, this case came before the undersigned magistrate judge for entry of a guilty

 plea by the Defendant, Roberto Sanchez Gonzalez, to Count One of the Information. Count One

 alleges that from on or about sometime in the late 2000s, the exact date being unknown to the Grand

 Jury, and continuing thereafter until July 23, 2013, in the Eastern District of Texas and elsewhere,

 Roberto Sanchez Gonzalez, the Defendant, knowingly and intentionally conspired and agreed with

 persons both known and unknown to the Grand Jury, to distribute and to possess with the intent to

 distribute one-hundred (100) kilograms or more, but less than one-thousand (1,000) kilograms, of

 a Schedule I controlled substance, namely, a mixture or substance containing a detectable amount

 of marijuana, in violation of 21 U.S.C. 841(a)(1), all in violation of 21 U.S.C. § 846.

        The Defendant entered a plea of guilty to Count One of the Information into the record at the



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 hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11, the undersigned finds:

          a.        That the Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

          b.        That Defendant and the Government have entered into a plea agreement which was

 disclosed and addressed in open court, entered into the record, and placed under seal. The Defendant

 verified that he understood the terms of the plea agreement, agreed to the Government’s summary

 of the plea agreement, and acknowledged that it was his signature on the plea agreement. To the

 extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM. P. 11

 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the court does

 not follow the particular recommendations or requests. To the extent that any or all of the terms of

 the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

 that he will have the opportunity to withdraw his plea of guilty should the court not follow those

 particular terms of the plea agreement.1

          c.        That the Defendant is fully competent and capable of entering an informed plea, that


 1
  “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

         d.      That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 his conduct falls within the definition of the crime charged under Title 21 U.S.C. § 846, conspiracy

 to possess with the intent to distribute a controlled substance - marijuana.

                                   STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that the Defendant is

 the same person charged in the Information and that the events described in the Information occurred

 in the Eastern District of Texas and elsewhere. The Government would also have proven, beyond

 a reasonable doubt, each and every essential element of the offense as alleged in Count One of the

 Information through the testimony of witnesses, including expert witnesses, and admissible exhibits.

 In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence described

 in detail in the factual basis and stipulation, and the Defendant’s admissions made in open court in

 response to the undersigned’s further inquiry into the factual basis and stipulation.

         The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and

 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that he was entering his guilty plea knowingly, freely and


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 voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the Information. Accordingly, it is further

 recommended that the District Court finally adjudge the Defendant, Roberto Sanchez Gonzalez,

 guilty of the charged offense under Title 21, United States Code, Section 846.

        The Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. The Defendant has the right to allocute before the District Court

 before imposition of sentence.

                                           OBJECTIONS

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

 to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

 identify those findings or recommendations to which the party objects, and (3) be served and filed

 within fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1)(c)

 (2011); FED. R. CIV. P. 72(b)(2). A party who objects to this report is entitled to a de novo

 determination by the United States District Judge of those proposed findings and recommendations

 to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1); FED R. CIV. P. 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77


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 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

 fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

 Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).



       SIGNED this 22nd day of May, 2014.




                                                       _________________________
                                                       Zack Hawthorn
                                                       United States Magistrate Judge




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